              Case 2:07-cr-00314-KJM Document 225 Filed 03/04/15 Page 1 of 2


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3
     Attorney for Defendant,
4    Teresa Morales
5
                                   UNITED STATES DISTRICT COURT
6
                           FOR THE EASTERN DISTSRICT OF CALIFORNIA
7

8                                                      )    Case No. 07-cr-00314 TLN
     UNITED STATES OF AMERICA,                         )
9                                                      )    STIPULATION AND [PROPOSED] ORDER
                     Plaintiff,                        )    FOR EXONERATION OF BOND AND
10                                                     )    RETURN SECURITY AND PASSPORT
            vs.                                        )
11                                                     )
     TERESA MORALES and ENRIQUE                        )
12                                                     )
     MORALES,                                          )
13                                                     )
                     Defendants
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            In 2007, Teresa Morales and her husband, Enrique Morales, were released on $100,000
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16   secured appearance bonds. The release for both defendants was secured by residential property.

17   Copies of the Deeds of Trust securing the release of both Teresa and Enrique Morales are

18   attached hereto as Exhibits “A” and “B.”
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            As part of their pretrial release conditions, Teresa and Enrique Morales surrendered their
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     passports. Docket Entries 65 & 66.
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            Because the government has dismissed the case against Teresa and Enrique Morales,
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     there remains no need for the secured bonds. Therefore, it is requested that the secured bonds, for
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24
     both Teresa and Enrique Morales, be exonerated and that the Court reconvey the security

25   interest, to wit, the deeds of trust. It is further requested that both defendants’ United States

26   Passports be returned.
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              Case 2:07-cr-00314-KJM Document 225 Filed 03/04/15 Page 2 of 2



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     DATED: March 2, 2015                           /s/ Timothy E. Warriner, Attorney for Defendant,
2
                                                    Teresa Morales

3    DATED: March 2, 2015                           /s/ Bruce Locke, Attorney for Defendant, Enrique
                                                    Morales
4
     DATED: March 2, 2015                           /s/ Andre Espinosa, Assistant U.S. Attorney for the
5                                                   Government
6

7                                                  ORDER

8           GOOD CAUSE APPEARING, and pursuant to the above stipulation, the secured bonds

9    of both Teresa Morales and Enrique Morales are hereby exonerated. The Clerk of the Court is
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     directed forthwith to reconvey the security interests, to wit, the deeds of trust, to Teresa and
11
     Enrique Morales by mailing the reconveyance to the defendants’ address: 1605 Spumante Way,
12
     Gonzales, CA 93926. Teresa and Enrique Morales’s United States Passports, if in possession of
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     the Court, are also to be returned.
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     DATED: March 4, 2015

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